                    Case 1:25-cv-00093             Document 1-1                 Filed 03/05/25        Page 1 of 2
.IS 44 (Rev 09/10)


                                       UNITED STATES DISTRICT COURT
"iLE - USDC “NH                         DISTRICT OF NEW HAMPSHIRE
2025 r^ih:K5PHS;0?
                                                     CIVIL COVER SHEET


This aulonuiicci .lS-44 confornis generally lo ihe maiuial JS-44 approved by the .kidieial Conlerence ol'the Uiiiiod Slates in September
1974. The data is required for llie Li.se of the Clerk of Court for the purpose of initialing the civil docket sheet. The information
contained herein neither replaces nor supplements the tiling and service of pleadings or other papers as required by law .


                                                           Defeiulant(s):
 I’irsi Listed PlaintitT:                                  First Listeil Defetidant:
 Mr. Dana Albrecht:                                        .lohn Pendleton ;
 County of Residence: Millsboro County                     County of Residence: Rockingham County

                                                           Additional l)efendanls(s);
                                                           Scott Murray :
                                                           Ellen Christo :
                                                           Gordon MacDonald ;
                                                           .lames P. Bassett:
                                                           Anna Barbara Manz Marconi :
                                                           Patrick E. Dono\an :
                                                           Melissa CouiUway :
                                                           Erin Creegan ;
                                                           Tracy Meyer:
                                                           24 Members olThe New 1 lampshire .ludicial Council:
                                                           Charles M. Arlinghaus:
                                                           Neu ! lampshire Public Defender;
                                                           John I'ormella :
                                                           John Ventura ;
                                                           Daniel Lawrence :
                                                           Kassandra Storms (a/k/a Kaminski):
                                                           Town of Seabrook :
                                                           Thomas W. Low ler:

                                                           Anthony King :
                                                           Patrick Szymkowski ;
                                                           'fown of Salisbury :


 County' Where Claim For Relief Arose: Rockingham County

 Plaintiffs Attorney(s):                                   Defeiulanf s Attorncy(s):
 Pro Se (Dana Albrecht)

 131 Daniel Webster llw\ s235
 Nashua. Neu 1 lampshire 03060
 Phone:(603)809-1097
 Fax:
 Email: dana.albrechl47hushniail.com




 Basis of Jurisdiction: 3. Federal Question (U.S. not a party)


 Citizenship of Principal Parties (Diversity Cases Only)
        Plaintiff: N/A

        Defendant: N/A




 Origin: 1. Original Proceeding
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Nature of Suit: 440 All Other Civil Rights
Cause of Action: 42 U.S.C. § 1983 - Civil Rights
Requested in Complaint
    Class Action: Not filed as a Class Action

    Monetary Demand (in Thousands):
    Jury Demand: Yes
    Related Cases: Is NOT a refiling of a previously dismissed action



Signature: /s/ Dana Albrecht

Date: 3/5/2025

      If any of iliis infomiaiioii is incorrect, please close this window and go back to the Civil Cover Sheet Input form to make the correction and generate the
      updated JS44. Once corrected, print this form, sign and date it, and submit it wiih your new civil action.
